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                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


FEDERAL TRADE COMMISSION,                            CIVIL ACTION

                 Plaintiff,                          Case No. 14-cv-5151
        v.

ABBVIE INC. et al.,

                 Defendants.


                DEFENDANTS’ SUPPLEMENTAL PRETRIAL MEMORANDUM

        In accordance with paragraph 7 of the Sixth Scheduling Order (Dkt. 310), Defendants

have attached their Supplemental List of Exhibits Used in Deposition Counter-Designations and

counter-designations to FTC’s deposition designations as Appendix A and Appendix B,

respectively. Defendants reserve the right to offer any document identified on FTC’s amended

exhibit list.

        In addition, Defendants note the following errata to the exhibit list and affirmative

depositions designations provided in their pretrial memorandum:

        (1)      Corrected production numbers for Defendants’ Exhibit 217 are AGEL-PA-006-
                 0552005 to AGEL-PA-006-0552033;

        (2)      Corrected production numbers for Defendants’ Exhibit 263 are Besins-EDPA-
                 0008063 to Besins-EDPA-0008064; and

        (3)      On the Solomon affirmative deposition designations, 10:5 should be 10:6-15,
                 121:24-25 should be omitted from 121:5-122:4, and 202:20-25 should be 202:20-
                 203:9.




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Dated: January 5, 2018                    Respectfully submitted,

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                                          Stuart N. Senator
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                                          Besins Healthcare, Inc.




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                               CERTIFICATE OF SERVICE

       I certify that, on January 5, 2018, the foregoing document was filed with the United

States District Court for the Eastern District of Pennsylvania using the ECF system. The

document is available for viewing and downloading.


                                                                 /s/ Adam R. Lawton




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                         Appendix A
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                                             FTC v. AbbVie Inc., No. 14‐cv‐5151

                             Supplemental List of Exhibits Used in Deposition Counter-Designations



Trial Ex.      BegBates              EndBates           Date                       Description                   Also Referenced As 
  No. 
             ABBOTT‐FTC‐            ABBOTT‐FTC‐                       Email and attachment regarding 
DX 294                                               10/10/2010                                                IH GX 3 
              00246685               00246690                         Product Profitability ‐ Follow up files 
               ABBVIE‐               ABBVIE‐                          Presentation titled SMART Panel 
DX 295                                               4/18/2011                                                PX 253 
             AGEL00342113         AGEL00342191                        Findings for AndroGel 




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                          Appendix B
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For the following witnesses, Defendants counter-designate the following deposition testimony
                       (including exhibits used or referenced therein):

                         FTC v. AbbVie, E.D. Pa. No. 14-cv-5151-HB
                         Defendants’ Counter Deposition Designations
                          Maureen Cavanaugh 30(b)(6) (9/13/2016)

          Start   Start     End     End            Start   Start   End       End
          Page    Line      Page    Line           Page    Line    Page      Line
           107      8       107      17             241      17        242    6
           108      22      109      2              260      5         260    5
           109      5       109      10             260      7         260    19
           117      4       117      7              260      21        261    8
           117      9       117      16             261      25        262    16
           127      25      128      16             283      14        284    6
           129      24      130      2              284      9         285    4
           130      5       130      9              285      6         285    11
           130      11      130      14             285      15        285    20
           130      16      130      21             285      23        286    6
           132      25      133      4              286      8         286    10
           133      6       133      11             286      13        286    19
           135      6       135      10             286      21        286    25
           135      14      136      2              287      4         288    9
           137      4       137      6              290      12        290    14
           137      9       137      17             290      17        291    2
           137      19      137      22             291      14        291    25
           137      25      138      9              292      2         293    2
           140      11      140      14             293      5         293    7
           140      16      141      20             293      9         293    11
           149      3       149      5              293      14        293    18
           149      7       149      18             294      16        294    22
           150      3       150      4              294      25        295    10
           150      7       150      7              295      12        296    5
           150      9       150      15             296      10        296    17
           161      16      163      5              296      20        296    21
           163      8       163      10             297      4         297    10
           182      8       182      20             297      13        297    19
           191      10      191      14             298      14        298    15
           201      21      201      24             298      17        298    19
           202      3       202      25             301      2         301    5
           219      18      220      10             301      8         301    13
           220      12      220      20             301      15        301    22
           223      23      226      2              301      25        303    3
           235      22      235      24             303      6         303    7
           236      2       236      7              303      9         303    11
           240      19      240      22             303      14        303    22
           240      24      241      6              303      24        304    2
           241      8       241      15             304      5         304    25


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          Maureen Cavanaugh 30(b)(6) (9/13/2016) (continued)


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  Page    Line    Page   Line          Page    Line    Page    Line
   307     22     308     4             334     16     334      18
   308     7      309     2             334     21     335      12
   309     4      309     9             336     10     336      12
   309     12     309     22            337     9      337      22
   309     24     310     3
   310     6      310     18
   311     10     311     17
   311     20     312     7
   312     9      312     17
   312     20     312     22
   312     24     313     2
   313     5      313     6
   313     8      313     13
   313     16     313     16
   313     18     313     21
   313     24     313     24
   314     3      314     8
   314     11     314     12
   314     14     314     18
   314     22     315     2
   315     5      315     7
   315     9      315     12
   315     15     315     20
   315     22     316     4
   316     7      316     15
   316     17     316     19
   316     22     316     22
   318     13     318     22
   318     25     318     25
   319     10     319     17
   322     13     322     18
   322     21     322     21
   322     23     322     25
   323     4      323     5
   325     17     326     12
   329     10     329     12
   330     19     330     24
   331     6      331     14
   332     7      333     19




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  Start   Start    End     End            Start   Start   End       End
  Page    Line     Page    Line           Page    Line    Page      Line
    25     19       25      20             126     1          126    1
    25     23       25      25             126     4          126    14
    30     17       30      24             126     21         127    8
    31     17       32      9              127     14         127    18
    32     18       33      5              127     23         128    7
    33     19       34      14             129     5          129    9
    35     16       35      19             129     13         130    1
    36     16       37      17             130     3          130    12
    37     25       38      19             132     1          132    2
    39     12       39      17             132     12         132    22
    40     20       40      21             134     9          134    11
    40     23       41      1              134     22         134    23
    41     17       42      6              136     1          136    11
    42     8        42      16             137     18         137    20
    43     11       43      22             137     24         138    1
    44     15       45      11             138     17         138    18
    49     10       49      18             142     15         142    15
    49     21       49      24             142     18         143    2
    53     2        53      10             143     4          143    5
    57     16       58      3              143     8          143    11
    79     17       80      2              143     13         144    1
    80     19       80      22             145     7          145    10
    83     8        83      24             161     6          161    9
    86     8        86      9              161     13         161    17
    86     14       86      23             163     2          163    3
    90     16       90      18             163     12         163    13
    91     18       92      12             163     22         163    24
    93     7        94      1              164     5          164    10
    98     6        98      10             164     19         164    21
   102     22      103      4              164     25         164    25
   106     15      106      15             165     2          165    3
   106     19      106      20             165     20         165    23
   111     8       111      22             167     20         167    22
   114     9       114      12             168     3          168    4
   114     15      114      23             168     6          168    6
   117     24      118      1              168     8          168    9
   119     20      119      23             168     12         168    12
   119     25      120      4              168     24         169    3
   120     19      121      5              169     13         169    17
   121     8       121      10             173     16         173    25
   124     19      125      9              177     12         177    14


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   Start   Start   End    End          Start   Start   End    End
   Page    Line    Page   Line         Page    Line    Page   Line
    186     7      186     9            303     9      303     14
    186     13     186     17           303     16     304     1
    186     19     187     6            305     10     306     20
    187     14     187     16           307     10     307     12
    187     19     188     1            308     6      308     17
    196     8      196     8
    196     12     196     13
    196     15     196     18
    197     23     198     3
    198     6      198     7
    208     20     208     22
    208     24     209     4
    209     6      209     16
    209     19     209     24
    215     21     215     22
    215     24     216     4
    217     22     217     25
    218     3      218     8
    222     14     222     23
    230     1      230     7
    230     21     231     19
    234     3      234     12
    236     17     236     19
    236     25     237     1
    242     24     242     25
    244     4      244     4
    244     7      244     9
    249     2      249     10
    249     14     249     18
    249     21     249     23
    259     17     259     20
    262     3      262     9
    262     11     262     16
    265     19     265     20
    265     23     265     25
    278     16     278     21
    286     16     286     20
    291     9      291     13
    292     6      292     10
    297     17     298     7
    303     5      303     7


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   Page    Line     Page    Line           Page    Line    Page     Line
     6      17       9       9               61     2          61    6
     9      15       16      4               61     8          62    8
    16      8        17      12              62     10         62    16
    17      13       18      14              62     19         62    23
    18      16       19      3               63     25         64    2
    19      5        19      19              64     4          64    14
    20      7        20      10              65     1          65    16
    20      12       21      2               65     18         65    23
    21      11       22      24              65     25         66    2
    23      2        24      24              66     4          66    11
    25      1        26      13              67     18         67    20
    26      23       26      25              67     22         67    22
    29      1        29      2               67     24         69    1
    29      4        29      4               69     3          69    16
    29      6        30      19              69     18         69    21
    30      21       31      10              70     2          70    4
    34      16       36      3               70     6          70    16
    36      5        38      3               70     18         70    22
    40      1        40      16              70     24         70    25
    40      18       40      19              71     5          71    7
    40      21       41      24              71     12         71    15
    42      4        42      5               71     17         71    19
    42      7        42      23              71     21         71    22
    42      25       43      2               72     2          72    17
    43      4        45      18              72     19         73    6
    45      20       46      13              73     8          73    10
    46      15       48      14              73     12         74    8
    48      20       49      15              75     7          75    15
    50      1        51      2               77     4          79    3
    51      5        51      6               79     7          79    19
    51      8        51      10              79     22         80    5
    55      3        55      4               80     7          80    9
    55      6        56      8               80     11         80    19
    56      12       56      25              81     2          81    9
    57      2        57      4               81     18         82    4
    57      6        57      6               82     7          83    7
    57      8        57      16              83     9          83    13
    57      18       58      5               83     17         83    23
    58      10       58      12              84     2          84    5
    58      14       59      8               84     9          84    15
    59      18       59      20              84     19         84    24
    59      22       60      25              85     1          85    2

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   Page    Line    Page   Line          Page    Line    Page   Line
     85     4       85     9             172     2      172     4
     85     11      85     22            172     6      172     16
     85     24      86     5             175     14     175     16
     86     8       86     11
     86     13      86     24
     87     2       87     5
     87     8       87     14
     87     16      87     18
     87     20      88     14
     88     20      88     22
     88     25      89     20
     90     6       90     10
     90     12      90     14
    107     6      107     15
    107     22     108     8
    110     10     110     16
    120     4      120     6
    120     10     121     5
    121     7      121     10
    121     13     122     2
    125     7      125     17
    125     20     125     22
    125     24     126     7
    127     8      127     16
    129     17     129     25
    130     3      130     7
    131     13     131     14
    131     16     132     15
    132     17     132     19
    132     22     133     2
    134     19     134     20
    134     23     135     1
    135     9      135     24
    136     16     136     24
    139     2      139     5
    141     14     141     17
    141     25     142     18
    142     21     142     25
    145     12     145     20
    162     6      162     15
    171     17     171     19
    171     22     171     24

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   Page    Line     Page    Line
    21      17       21      21
    22      8        22      16
    22      24       23      13
    25      20       26      8
    26      9        27      20




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   Start   Start    End     End             Start   Start   End    End
   Page    Line     Page    Line            Page    Line    Page   Line
     78     15        79     1              286      1      286     20
     79     25        80     2              292      4      292     7
     80     6         80     14             292      12     292     18
     81     25        82     6              293      19     293     22
     82     13        83     8              294      2      294     5
     83     12        83     13             294      10     294     11
     83     15        83     17             294      13     294     15
     83     20        83     20             298      20     298     21
     83     22        84     4              314      14     314     17
     96     15        96     17             321      17     321     17
     96     22        97     1              321      21     322     7
     97     3         97     7              330      21     330     22
     97     10        97     13             331      2      331     3
     97     15        97     16             342      24     343     7
     97     18        97     20             357      6      358     6
    120     6        120     7              380      12     380     13
    120     9        120     10             380      23     381     9
    120     12       120     16             381      11     381     13
    131     1        131     4              381      16     381     20
    143     9        143     12             382      13     382     17
    143     24       144     1              382      19     383     6
    144     12       144     18
    146     21       146     22
    150     6        150     10
    150     14       150     19
    161     9        161     17
    227     3        227     5
    227     9        227     9
    227     11       227     14
    227     17       227     22
    247     13       247     14
    247     18       247     20
    248     16       248     18
    248     25       248     25
    272     9        272     10
    272     13       272     15
    273     6        273     8
    277     23       277     25
    278     3        278     9
    278     11       278     13
    278     16       279     6


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     4      9        4       10              88     21          89    13
     4      17       4       22              89     15          89    19
     4      24       4       25              89     23          90    3
    14      18       14      20              90     11          90    19
    15      10       16      8               90     22          91    21
    18      10       19      6               92     1           92    8
    19      10       20      1               94     10          94    18
    20      3        20      10              94     25          95    2
    21      7        21      12              95     5           95    12
    21      16       21      18             114     24         115    2
    25      10       25      12             115     10         115    22
    27      17       28      2              116     25         117    2
    28      17       28      20             127     7          127    9
    29      4        29      12             142     4          142    6
    29      24       29      24
    30      7        30      12
    30      21       30      23
    31      18       32      8
    32      11       33      15
    37      8        38      8
    38      12       38      18
    38      20       39      7
    46      23       47      5
    47      22       48      10
    50      10       50      10
    51      5        51      12
    51      17       51      24
    52      2        52      18
    55      2        55      22
    56      10       56      21
    57      9        57      21
    58      1        58      3
    58      10       58      13
    58      15       58      16
    58      23       59      2
    59      11       59      25
    61      15       61      15
    81      13       82      4




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   Page    Line     Page    Line           Page    Line    Page      Line
     13     13       13      15             226     21         227    10
     17     2        17      24             227     21         228    2
     28     6        29      8              237     7          237    15
     35     15       35      23             238     5          238    16
     39     4        40      11             241     21         241    23
     44     1        44      3              247     9          247    10
     44     6        46      16             250     4          250    8
     47     10       47      22             250     11         250    12
     48     18       48      22             253     20         253    21
     50     6        50      8              255     23         256    5
     50     11       50      14             267     20         268    3
     53     5        53      9              268     20         269    1
     53     13       53      20             269     3          269    6
     56     17       56      20             269     9          269    13
     56     23       57      1              269     16         270    10
     60     13       60      14             270     13         271    4
     60     20       61      4              271     7          271    15
     62     1        62      2              271     17         272    7
     68     1        68      11             272     11         272    14
     69     4        69      15             272     18         272    18
     71     3        71      9              272     23         272    24
     75     23       76      22             273     7          274    12
     76     25       77      14             274     14         274    19
     80     10       80      16             274     21         275    7
     83     9        83      11             275     15         276    13
     89     9        89      11             276     16         277    16
    108     6       108      9              277     19         278    3
    135     2       135      5              278     6          279    1
    136     13      136      19             279     4          279    22
    137     5       137      13             279     24         280    7
    138     23      139      8              280     9          282    5
    180     22      181      2              282     8          282    12
    189     13      189      15             282     16         282    18
    190     4       190      5              282     21         283    1
    210     10      211      8              283     3          283    17
    212     6       212      8              283     20         283    25
    225     6       226      14             284     3          284    6
    226     17      226      19             284     8          285    10




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    285     13     286     9                                      
    286     12     286     17                                     
    286     19     287     2                                      
    287     4      288     12                                     
    288     15     289     1                                      
    289     3      291     3                                      
    291     5      291     15                                     
    291     18     292     17                                     
    292     19     293     25                                     
    294     2      295     10                                     
    295     13     296     2                                      
    296     4      297     12                                     
    297     17     298     7                                      
    298     17     299     14                                     
    299     16     299     16                                     
    299     18     300     10                                     
    300     13     301     6                                      
    307     5      308     1                                      
    310     16     311     11                                     
                                                                  
                                                                  
                                                                  
                                                                  
                                                                  
                                                                  
                                                                  
                                                                  
                                                                  
                                                                  
                                                                  
                                                                  
                                                                  
                                                                  
                                                                  
                                                                  
                                                                  
                                                                  
                                                                  




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     26     15       26      15
     60     18       60      19
     60     21       61      5
    106     8       107      1
    107     7       107      7
    107     11      107      13
    107     17      107      23
    107     25      108      2
    118     20      118      21
    118     23      119      15
    126     25      127      2
    127     5       127      16




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     9      3        9       4               51     16          51    18
    12      17       12      18              51     20          51    20
    13      5        13      7               56     10          56    11
    17      19       17      24              56     13          56    14
    18      2        18      22              57     1           57    6
    18      24       19      7               57     8           57    9
    25      14       25      15              57     23          58    10
    27      19       27      21              58     12          58    12
    28      1        28      4               59     1           59    4
    28      6        28      20              59     6           59    7
    28      22       28      25              59     9           59    11
    29      16       29      18              59     17          59    19
    35      9        35      14              73     17          73    24
    35      18       35      18              74     1           74    4
    35      25       36      2               74     6           74    8
    38      7        38      9               75     14          75    16
    38      11       38      12              75     18          75    19
    38      14       38      17              75     21          75    22
    38      19       38      19              75     24          75    24
    39      13       39      15              79     8           79    11
    39      17       39      17              85     11          85    13
    39      19       39      20              85     15          85    15
    39      22       39      22              85     17          85    24
    39      24       40      1               86     10          86    13
    40      4        40      5               93     4           93    18
    40      7        40      11              93     22          93    22
    46      17       47      2               95     15          95    15
    47      23       47      25              95     17          95    19
    48      9        48      10              96     8           96    10
    48      12       48      12              96     15          96    15
    48      14       48      19             104     1          104    5
    48      21       48      22             104     7          104    8
    49      13       49      20             113     22         113    22
    49      22       49      22             113     24         114    1
    50      11       50      12             114     4          114    6
    50      15       50      20             114     8          114    13
    50      22       50      22             114     15         114    16
    51      8        51      9              116     24         117    7
    51      12       51      14             117     12         117    13


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    119     8      119     11            174      5      174    25
    119     20     119     24            175      2      175    10
    120     4      120     7             175      12     175    22
    120     11     120     11            176      22     176    23
    120     18     120     20            177      1      177    6
    121     3      121     4             177      8      177    10
    121     6      121     16            181      16     181    18
    126     9      126     9             182      21     183    16
    126     11     126     12            186      19     186    22
    130     1      130     4             187      12     187    20
    130     6      130     6             226      20     227    7
    132     4      132     11
    133     2      133     14
    135     13     135     16
    135     19     135     20
    135     22     135     25
    139     25     140     5
    148     11     148     24
    149     1      149     5
    149     11     149     12
    150     16     150     18
    150     23     150     25
    152     5      152     8
    154     15     154     16
    154     19     154     20
    155     5      155     8
    155     10     155     10
    157     17     157     17
    157     19     157     25
    158     3      158     5
    159     15     159     17
    160     15     160     16
    160     18     160     23
    161     6      161     8
    161     10     161     11
    162     7      162     9
    162     11     162     12
    169     10     169     12




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     41     10       41      18             187     17         189    15
     45     17       45      24             189     18         190    4
     63     16       63      24             190     6          190    13
     78     21       79      3
     79     12       79      15
     79     17       80      14
     80     17       81      9
     81     25       82      4
     88     17       88      20
     89     1        89      11
     90     2        90      5
     91     1        91      7
     93     5        93      9
     93     13       94      13
     95     3        95      15
     97     1        97      12
     98     3       100      14
    100     25      101      12
    101     25      102      4
    102     6       102      8
    106     3       106      23
    124     15      124      24
    129     11      129      14
    129     19      130      15
    132     1       132      14
    146     4       146      12
    148     25      150      4
    155     17      155      20
    159     5       159      8
    160     23      161      14
    162     11      162      14
    162     19      163      4
    170     21      171      4
    171     6       171      7
    179     5       179      8
    179     10      179      10
    185     17      186      13




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    19      22       20      11                                     
    21      7        25      8                                      
    26      9        26      21                                     
    29      22       30      18                                     
    30      23       32      11                                     
    38      1        38      4                                      
    40      7        40      13                                     
    43      22       45      11                                     
    46      12       47      3                                      
    47      11       47      19                                     
    47      24       48      3                                      
    48      7        48      15                                     
    48      19       49      21                                     
    54      14       55      14                                     
    56      17       58      12                                     
    58      19       58      22                                     
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    




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     21     21      21       25                                     
     59     2       59       7                                      
     59     9       59       18                                     
     60     22      62       21                                     
     62     23      63       9                                      
     72     2       72       8                                      
     72     11      72       25                                     
     79     6       79       13                                     
     81     23      82       6                                      
     90     14      91       1                                      
    105     10      105      12                                     
    120     13      121      4                                      
    160     16      160      22                                     
    179     14      179      22                                     
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    




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   Page    Line     Page    Line           Page    Line    Page      Line
      9     15       9       20             109     24         110    1
      9     24       9       25             110     4          110    4
     13     18       14      3              110     6          110    8
     14     19       15      16             111     1          111    11
     23     11       23      14             112     12         112    20
     23     17       23      20             113     3          113    4
     25     8        25      17             113     7          113    8
     29     5        29      7              119     9          119    19
     29     10       29      14             122     6          122    15
     29     16       29      17             128     21         128    25
     29     20       30      1              133     1          133    1
     30     6        30      7              133     4          133    4
     30     10       30      12             133     6          133    23
     35     20       36      5              136     21         136    23
     38     16       38      24             137     17         137    19
     39     2        39      2              138     2          138    8
     39     4        39      4              138     11         138    13
     39     7        39      9              138     15         138    18
     39     13       40      13             139     2          139    23
     40     25       41      21             141     24         142    3
     42     7        42      21             142     19         142    21
     51     24       52      1              144     1          144    3
     52     4        52      6              144     13         144    18
     53     20       53      23             145     21         145    24
     59     16       60      9              173     20         173    24
     66     15       66      18             174     2          174    16
     68     1        68      3              174     18         174    20
     68     6        68      14             174     22         174    24
     71     5        71      10             175     1          175    4
     71     14       72      9              175     6          175    17
     78     5        79      18             177     23         177    25
     93     20       94      2              178     3          178    7
     97     17       97      19             180     8          180    24
     97     23       97      23             182     2          182    11
    100     14      100      16             183     18         184    4
    100     24      100      24             191     22         191    24
    106     23      106      24             192     1          192    13
    107     2       107      2              192     15         192    16




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   Page    Line     Page    Line
    192     18      193      13                                     
    193     25      194      16                                     
    205     4       205      15                                     
    208     20      209      15                                     
    210     9       210      12                                     
    216     17      216      20                                     
    217     17      218      2                                      
    218     9       218      12                                     
    223     9       224      4                                      
    226     24      226      25                                     
    227     3       227      4                                      
    229     1       229      14                                     
    238     13      238      23                                     
    239     7       239      24                                     
    244     5       244      7                                      
    245     20      245      24                                     
    246     8       246      10                                     
    248     16      249      14                                     
    249     17      250      6                                      
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    




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     15     12       15      22             127     14         127    16
     16     17       16      19             127     19         127    24
     16     21       17      3              139     16         140    2
     17     5        17      5              140     18         140    19
     17     7        17      8              140     21         140    24
     17     10       18      3              141     1          141    23
     22     9        22      22             149     22         151    17
     23     21       23      23             151     19         152    2
     23     25       24      5              167     25         168    1
     24     25       25      5              168     4          168    6
     25     17       27      20             168     8          168    9
     30     10       31      5              168     12         168    23
     31     8        31      15             168     25         169    2
     36     21       36      23             169     5          169    23
     37     1        37      7              173     6          173    7
     37     9        37      10             173     10         173    16
     37     12       37      18             199     19         200    2
     37     20       38      1              200     5          200    14
     38     8        38      17
     38     20       39      22
     39     25       41      19
     41     21       42      1
     42     3        42      12
     42     17       42      19
     42     21       43      5
     45     11       45      12
     54     19       54      21
     59     12       59      20
     63     23       63      24
     64     3        64      6
     64     12       65      2
     65     5        65      13
     93     7        93      9
     93     12       93      22
     95     6        95      13
     95     15       96      3
    121     6       121      11
    122     15      123      10




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     30     11       30      14             215     15         215    21
     30     17       31      1              215     24         216    15
     33     22       35      2              216     17         216    18
     35     5        35      5              216     22         216    23
     67     11       67      18             223     3          223    14
     67     20       67      21             239     20         241    4
     67     23       68      9              241     7          241    13
     68     11       69      12             241     15         242    4
     83     10       83      23             242     6          242    8
     98     4        98      14             242     10         242    18
     98     17       98      19             258     17         259    7
     98     21      100      18             259     9          260    2
    101     18      101      21             260     5          261    3
    102     4       103      21             261     5          261    13
    103     23      104      3              271     6          272    20
    105     2       105      21             272     23         272    24
    107     9       108      6              273     2          273    6
    108     8       108      11             273     16         273    17
    108     13      108      15             273     19         273    25
    108     18      109      1              274     5          274    9
    112     22      112      25             274     12         274    13
    113     3       113      6              275     3          275    5
    114     4       114      6              275     8          275    12
    114     9       114      12             276     1          276    4
    137     23      138      19             276     7          276    8
    146     17      147      2              276     10         276    13
    152     25      153      9              276     16         276    20
    153     12      153      18             276     22         276    22
    177     13      178      10             277     1          277    4
    204     10      204      13             277     7          277    13
    204     16      204      21             277     15         277    20
    204     25      205      2              277     23         277    24
    205     6       205      15             278     2          278    7
    212     3       212      9              278     11         278    11
    212     12      212      24             278     13         278    18
    213     2       213      9              278     21         278    21
    213     12      214      6              278     23         279    3
    214     8       214      17             279     6          279    6




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    279     16      279      25                                     
    280     3       280      6                                      
    280     9       280      13                                     
    280     15      280      23                                     
    281     1       281      1                                      
    281     3       281      3                                      
    281     5       281      11                                     
    281     14      281      21                                     
    281     23      282      6                                      
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    
                                                                    




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